Case 2:04-cr-20421-.]DB Document 92 Filed 04/22/05 Page 1 of 2 PagelD 80

lN THE UN|TED STATES DlSTR|CT COURT `3?
FOR THE WESTERN D|STR|CT OF TENNESSEEU§ t jj j`;_: o ij
WESTEFiN DlVlS|ON

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UN|TED STATES OF AMER|CA,
Plaintiif

VS.
CR. NO. 04-2042‘|-B

JEREM|AH HARF{|S, DE SHUN N|NA GREEN,
LATlSHA D. F’ETT|GREW, LATISHA D. BURNS,

Defendants.

 

ORDEFi ON CONT|NUANCE AND SPEC|FY|NG PEFilOD OF EXCLUDABLE DELAY
AND SETT|NG

 

Thls cause came on for a report date on April 25, 2005 At that time, counsel for the
defendant requested a continuance of the l\/lay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 With a @p£r_t
date of Tuesdav. Nlav 31. 2005. at 9:30 a.m., in Courtroom 1, 11th Floor ot the Federal
Building, Nlemphis, TN.

The period frorn lVlay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(l3)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

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@NEL BREEN \
ED sTATEs olsTFilcT JuDGE

This doct_\nent entered on the docket ,et in complian .e
with Ru|e 55 and/or 32lbl FF:C|'P on Z?P' " §

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UNITED sTATE DISIC COURT - WESRNTE D'S'TRCT 0 TESSEE

   

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This notice confirms a copy of the document docketed as number 92 in
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Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Gerald S. Green

LAW OFFICE OF GERALD S. GREEN
147 .1 efferson

Ste. 800

1\/1emphis7 TN 38103

DeWun R. Settle

LAW OFFICE OF DEWUN SETTLE
100 N. Main Building

Ste. 3001

1\/1emphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

1\/1emphis7 TN 38103--238

Marty 13. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
1\/1emphis7 TN 38103

HoWard Brett Manis
BOROD & KRAMER
80 Monroe Ave.

Ste. G-1

1\/1emphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

